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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS


  Wyoming Technology Licensing, LLC,
                Plaintiff,
         v.                                         CIVIL ACTION NO. 2:24-cv-00128

  Apple Inc.,
                                                    JURY TRIAL DEMANDED
                Defendant.




              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Wyoming

 Technology Licensing, LLC respectfully submits this Notice of Voluntary Dismissal Without

 Prejudice of Defendant Apple Inc.. Apple Inc. has neither filed an Answer nor a Motion for

 Summary Judgment.



 Dated: March 28, 2024                              Respectfully Submitted,

                                                    /s/ Randall Garteiser
                                                    Randall Garteiser
                                                      Texas Bar No. 24038912
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                                                    COUNSEL FOR PLAINTIFF
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                              CERTIFICATE OF SERVICE
        I hereby certify that I electronically transmitted the foregoing document using the

 CM/ECF system for filing, which will transmit the document electronically to all registered

 participants as identified on the Notice of Electronic Filing, and paper copies have been served

 on those indicated as non-registered participants.


                                                      /s/ Randall Garteiser
                                                      Randall Garteiser




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